






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





ON MOTION FOR RECONSIDERATION EN BANC








NO. 03-06-00208-CV






Shelly Frank, as Beneficiary of Eric Frank, Deceased, Appellant


v.


Liberty Insurance Corporation, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-GN-05-001135, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING




D I S S E N T I N G   O P I N I O N



For the reasons expressed in my dissenting opinion to this Court's original disposition
of this case, I respectfully dissent from the denial of appellee's motion for reconsideration en banc.
See Frank v. Liberty Ins. Co., No. 03-06-00208-CV, 2008 Tex. App. LEXIS 2632
(Tex.&nbsp;App.--Austin Apr. 11, 2008) (Waldrop, J., dissenting).


				___________________________________________

				G. Alan Waldrop, Justice

Joined by Justice Puryear


Filed:   May 16, 2008


